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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03004 (SGJ)
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )
ADVISORS, L.P.,                                                         )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 9, 2021, at my direction and under my supervision, employees of KCC caused
the following documents to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Debtor’s Opposition to Motion for Entry of Protective Order [Docket No. 58]

      •   Declaration of John A. Morris in Support of the Debtor’s Opposition to Motion for
          Entry of Protective Order [Docket No. 59]



                                           (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   The Official Committee of Unsecured Creditor and the Litigation Advisor's
       Objection to Highland Capital Management Fund Advisors, L.P. and NexPoint
       Advisors, L.P.'s Motion for Entry of Protective Order [Docket No. 60]


Dated: August 12, 2021
                                           /s/ Hannah Bussey
                                           Hannah Bussey
                                           KCC
                                           Meidinger Tower
                                           462 South 4th Street
                                           Louisville, KY 40202




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                             EXHIBIT A
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                                                                 Exhibit A
                                                           Adversary Service List
                                                          Served via Electronic Mail


              Description                       CreditorName                CreditorNoticeName                       Email
 Financial Advisor to Official Committee                               Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
 of Unsecured Creditors                  FTI Consulting                O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                       Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC        Z. Annable                    ZAnnable@HaywardFirm.com
 Counsel for UBS Securities LLC and                                    Andrew Clubok, Sarah          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Tomkowiak                     sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                    Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             George                        Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                    Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Posin                         kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                  Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint                                     Davor Rukavina, Esq., Julian   drukavina@munsch.com;
 Capital Inc.                         Munsch Hardt Kopf & Harr, P.C. P. Vasek, Esq.                 jvasek@munsch.com
                                                                                                    mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
 Counsel for Official Committee of                                     Russell, Elliot A. Bromagen, ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Dennis M. Twomey             dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                     Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes           crognes@sidley.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail


              Description                  CreditorName            CreditorNoticeName              Address1             Address2         City      State    Zip
 Counsel for UBS Securities LLC and                          Andrew Clubok, Sarah          555 Eleventh Street, NW,
 UBS AG London Branch                 Latham & Watkins LLP   Tomkowiak                     Suite 1000                                Washington    DC      20004
 Counsel for UBS Securities LLC and                          Asif Attarwala, Kathryn K.    330 North Wabash
 UBS AG London Branch                 Latham & Watkins LLP   George                        Avenue, Ste. 2800                         Chicago       IL      60611
 Counsel for UBS Securities LLC and                          Jeffrey E. Bjork, Kimberly A. 355 S. Grand Ave., Ste.
 UBS AG London Branch                 Latham & Watkins LLP   Posin                         100                                       Los Angeles   CA      90071
 Counsel for UBS Securities LLC and                                                        1271 Avenue of the
 UBS AG London Branch                 Latham & Watkins LLP   Zachary F. Proulx, Jamie Wine Americas                                  New York      NY      10020
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint      Munsch Hardt Kopf &    Davor Rukavina, Esq., Julian P.                          500 N. Akard
 Capital Inc.                         Harr, P.C.             Vasek, Esq.                     3800 Ross Tower          Street         Dallas        TX      75202




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